Case 2:04-cr-20256-.]P|\/| Document 160 Filed 07/08/05 Page 1 of 2 Page|D 219

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DISTR|CT OF TENNESSEE
WESTERN DlVlS|ON
UN|TED STATES OF AMERlCA,
P|aintiff,
vs. Cr. No. 04-20256»|\/1[

LATRUNTA ¥. HOUSTON

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Defendant,
ORDER GRANT|NG GOVERNMENT’S ORAL MOT|ON

TO D|SM|SS THE OR|GlNAL |ND|CTMENT AND

COUNT 5 OF THE SUPERSED|NG |ND|CTMENT
This cause came to be heard before the court at the sentencing hearing held this
date upon the oral motion of counsel forthe United States to dismiss the original indictment
and count 5 of the superseding indictment in this case as to defendant, Latrunta Y.
Houston, and it appears to the Court that the plea agreement in this case having been

accepted and sentence imposed on count 1 of the superseding indictment, the

government’s motion is well taken and should be granted.

so oRDEREothis E§ day of \)Q% ,2005.
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B‘- _ '

ON H|PPS lVlCCALLA
Uni d States District Judge

 

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UNITED `sATES DISTRICT COUR - WTER D's'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 160 in
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Johnny Pritchard
PRITCHARD LAW FIRM
243 EXchange Avenue
Memphis7 TN 38105

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

